Case 1:10-cr-20242-CMA Document 196 Entered on FLSD Docket 05/20/2016 Page 1 of 2


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 10-20242-CR-ALTONAGA(s)

UNITED STATES OF AMERICA

v.

JOHN UTSICK,

            Defendant.
_______________________________________/

     UNITED STATES’ NOTICE OF FILING UTSICK’S SIGNED ACKNOWLEDGMENT
                 THAT THE RECEIVER WAS NOT HIS ATTORNEY

       In Defendant John Utsick’s “Motion for Kastigar Hearings Re: Grand Jury, Detention, and Trial;

Motion for Grand Jury Transcripts and Colloquy; and Motion to Dismiss for Government’s Inability to

Prove Grand Jury Evidence Free of Taint” (DE 191), Utsick represented to the Court that the Receiver,

Michael Goldberg of Akerman Senterfitt, was Utsick’s own attorney.

       Specifically, Utsick asserted that “Mr. Utsick’s attorney, with the assistance of the government,

which made incomplete disclosures to the court, obtained court approval to become Receiver and work

extensively with the government, including prosecutors and agents, in crafting the criminal case against

him” (DE 191:5).

       The United States previously responded that the allegations that the Receiver was Utsick’s

attorney, rather than a fiduciary appointed by a federal district court to take over Worldwide and TEGFI,

were frivolous and unsupported by any evidence.

       Yesterday, the United States received a copy of the letter from Akerman Senterfitt that Utsick

signed and acknowledged specifically that Michael Goldberg did not represent him, that Akerman

Senterfitt was terminating any personal representation of Utsick, that Akerman’s representation

thereafter would be only representations of TEGFI and Worldwide, and that Utsick had retained two

other attorneys, Richard Kraut and David Chase, to represent him going forward along with Michael
Case 1:10-cr-20242-CMA Document 196 Entered on FLSD Docket 05/20/2016 Page 2 of 2


Rosen. The letter also acknowledged that Utsick had discussed these matters with his attorney, Michael

Rosen.

         Utsick signed that letter effective January 1, 2006, before Michael Goldberg was appointed

Receiver. The letter discussed that Goldberg was being brought in as a potential candidate for the

Receivership position, and that Akerman Senterfitt would not represent Utsick in his individual capacity

thereafter.

         That letter is attached as Exhibit A. It directly contradicts the representations that Utsick made

to this Court in the Motion for Kastigar hearing and Motion to Dismiss filed at Docket Entry 191.

                                               Respectfully submitted,

                                               WIFREDO A. FERRER
                                               UNITED STATES ATTORNEY

                                        By:    /s/ John P. Gonsoulin

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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of the

Court using CM/ECF on May 20, 2016.

                                        By:    /s/ John P. Gonsoulin
                                               John P. Gonsoulin
                                               Assistant United States Attorney

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